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                     EXHIBIT 4
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                                                               Aii


                           ESSEX CAPITAL CORPORATION

                      CONSOLIDATED FINANCIAL STATEMENTS

                                DECEMBER 31,2015




                                                                   SEC-DBNTM-E-0011310


                                                               EXHIBIT 4 PAGE 56
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             t. 'AMITZ


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                              INDEPENDENT ACCOUNTANT'S COMPILATION REPORT



            To the Shareholder
            Essex Capital Corporation
            Santa Barbara, California

            The Shareholder is responsible for the accompanying financial statements of Essex Capital
            Corporation, which comprise the consolidated balance sheet as of December 31, 2015, and the
            related consolidated statements of operations, shareholder's deficit and cash flows for the year
            then ended, and the related notes to the financial statements in accordance with accounting
            principles generally accepted in the United States of America. We have performed a compilation
            engagement in accordance with Statements on Standards of Accounting and Review Services
            promulgated by the Accounting and Review Services Committee of the AICPA. We did not
            audit or review the financial statements nor were we required to perform any procedures to
            veiify the accuracy or completeness of the information provided by management. Accordingly,
            we do not express an opinion, a conclusion, nor provide any form of assurance on these financial
            statements.


            The Company has investments in private equity securities for which the Shareholder believes it is
            not practicable to determine fair value. These investments have been stated at cost or at the
            Shareholder's estimate of fair value based on the most current available transactions for the
            investments. Accounting principles generally accepted in the United States of America require that
            the investments be stated at fair value. The effect on the financial statements of this difference is
            not reasonably detemiinable.

            As discussed in Note 16 to the financial statements, certain errors resulting in an overstatement of
            previously reported investments as of December 31, 2015 and 2014 as well as an overstatement of
            notes receivable a.s of December 31, 2015, were discovered by management of the Company
            subsequent to the issuance of our report on those financial statements dated April 8, 2016.
            Accordingly, an adjustment has been made to retained earnings as of January 1, 2015, to correct
            these errors.




Member
Division forCPA Firms ^)CPA               Certified Public Accountants andConsultants
                                                   A Professional Corporation
                        200 East CarrilloStreet, Suite 303, Santa Barbara, CA 93101 805-963-1837 Fax 805-S64-2150



                                                                                                                    SEC-DDNTM-E-0011311


                                                                                                             EXHIBIT 4 PAGE 57
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      As discussed in Note 17, certain conditions indicate that the Company may be unable to continue
      as a going concern. The accompanying financial statements do not include any adjustments to
      the financial statements that might be necessary should the Company be unable to continue as a
      going concern. Our conclusion is not modified with respect to that matter.




      Damitz, Brooks, Nightingale,
      Turner & Morrisset
      May 26, 2017




                                                                                                SEC-DBNTIW-E 0011312


                                                                                          EXHIBIT 4 PAGE 58
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                                       ESSEX CAPITAL CORPORATION
                                             Consolidated Balance Sheet
                                                  Decembers), 2015

                                                        Assets

         Current Assets
           Cash                                                                        $        4,562,081
           Current portion of notes receivable                                                    105,678
           Investments in marketable securities                                            24.786,593
           Other cuiTenl assets                                                                   110.835

               Total current assets                                                        29.565.187

         Assets heldfor lease, net                                                             18.211.646
         Other Assets
           Investments
           Private equity, at cost                                                              5,924,963
           Private equity, at estimated fair value                                              4,607,927
          Notes receivable, less current portion                                                8.411.070
           Deferred tax asset                                                                   9,171,000
           Due from shareholder                                                                 6.760,721
               Total other assets                                                          34,875,681

         TotalAssets                                                               ^       82.652.514

                                                      Liabilities

         Current Liabilities
           Accrued liabilities                                                                  1309.408
           Accrued interest payable                                                             1.724.256
           Incometaxes payable                                                                     20.000
           Deferred tax liabilitx'                                                              2,626,000
           Currentportion of recourse notes payable                                             7,7.'> 8,497
           Current portion of notes payable                                                     7.468.472
           Current portion of liability to limited partners                                    13.452.110
           Ciiirentportion of non-recourse notes payable                                       17.190.786
               Total current liabilities                                                   51.549.529
         Long-term Liabilities
          Recourse promissory notes payable, lesscurrent portion                            2,780,509
          Notes pavable, lesscurrent portion                                                7,929,191
          Liabilit\- to limited partners, less current portion                             11.735.831
          Non-rccoiirsc notes pa> ablc,loss current portion                                21.019.363
               Total long-term liabilities                                                 43.464.894
               Total liabilities                                                           95,014.423

                                                 Shareholder's Deficit

           Coniinoii .slock                                                                       500
           Retained deficit                                                                (12362.409)
               Totalshareholder's deficit                                                  (12361-909)
         TotalLiabilities and Shareholder's Deficit                                 $      82.6.')2.514


                     See accompanying notes and independent accountant's compilation report.


                                                                                                               SEC-DBNTM-e-0011313


                                                                                                       EXHIBIT 4 PAGE 59
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                             ESSEX CAPITAL CORPORATION
                           Consolidated Statement of Operations
                                 Yeai" Ended December 31. 2015




            Revenues
              Leasing income                                          9,300,964
              Other income                                             419.686
               Total revenues                                         9.720,650


            Investment income
              Net investment income, realized                          929,650
              Net investment loss, unrealized                        (2,475,134)
              Dividend income                                            19,109
              Interest income                                          883,974
               Total investment loss                                  (642,401)

                                                                      9.078,249


            Expenses
              Payroll and related                                       743,239
              General and administiative                              2,256,141
              Loss on uncollectible notes receivables                 3,681,507
              Depreciation                                            8,956,685
              Leasing expense                                           443,023
              Interest expense                                        4,762,466

               Total expenses                                       20,843,061

               Loss before income taxes                             (11,764,812)

              Income tax benefit                                     (4,722.599)

            Net loss                                                 (7,042,213)




           See accompanying notes and independent accountant's compilation report.
                                                                                       SEC-DBNTM-E-0011314


                                                                                   EXHIBIT 4 PAGE 60
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                            ESSEX CAPITAL CORPORATION
                      Consolidated Statement of Shareholder's Deficit
                               Year Ended December 31,2015




                                                                                Total
                                        Common
                                                     Retained Deficit       Shareholder's
                                           Stock
                                                                               Deficit

      Balcuice, December 31, 2014      $      500    $   (5,320,196)    $      (5,319,696)

      Net loss                                           (7,042,213)           (7,042,213)

      Balance, December 31, 2015       $      500    $ (12,362,409)     $     (12,361,909)




           See accompanying notes and independent accountant's compilation report.

                                                                                            Sec-DBN f M-t-0011315


                                                                                   EXHIBIT 4 PAGE 61
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                                    ESSEX CAPITAL CORPORATION
                                   Consolidated Statement of Cash Flows
                                       Year Ended December 31,2015



         Cask F/(nvs From Operating Activities
          Net loss                                                           $    (7,042,213)
          Adjustment to reconcile net income to net cash
           provided by operating activities
          Depreciation expense                                                     8,956,685
          Net increase in unrealized gain on investments                           2.475,134
          Loss on disposal of equipment                                              441,955
          Loss on uncollectible notes receivable                                   3,681,507
          Deferred income tax benefit                                             (4,732,000)
          (Increase) decrease in;
            Other current assets                                                     (85,802)
            Accured interest on notes receivable                                    (879,983)
            Due from shareholder                                                  (2.182,848)
          Increase (decrease) in:
            Accounts payable                                                        (270,184)
            Accrued liabilities                                                      (73,926)
            Accnied interest payable                                                 618,471
            Liability to limited partners                                           (381,904)

         Net cash provided by operating activities                                   524.892


         Cash Flows From Investing Activies
          Purchases of properly and equipment                                    (14,347,381)
          Proceeds from sale of equipment                                            210,565
          Purchases of investments                                                (4,375,384)
          Proceeds from sale of investments                                          109,722

         Net cash used by investing activities                                   (18,402,478)

         Cash Flows From Financing Activities
          Proceeds from recourse notes payable                                     8,292,824
          Principal payments on recourse notes payable                            (4,421,184)
          Proceeds from notes payable                                             13,125,249
          Principal payments on notes payable                                    (10,464,396)
          Proceeds from minority interests in limited partnerships                10,000,000
          Return of capital to limited partners                                   (1,000.000)
          Proceeds from non-recourse notes payable                                15,076,677
          Principal payments on non-recourse notes payable                       (10,788,024)

        Net cash provided by financing activities                                 19,821,146

        Net increase in cash and cash equivalents                                  1,943,560

         Cash and cash equivalents, beginning ofyear                               2,618,521

         Cash and cash equivalents, end ofperiod                             $     4.-'i62.081


               See accompanying notes and independent accountant's com pilaiion report.

                                                                                                 SEC-OBNTM-E-Or>11316


                                                                                          EXHIBIT 4 PAGE 62
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                                 ESSEX CAPITAL CORPORATION, INC.
                                 Notes to Consolidated Financial Statements
                                               December 31,2015

      1.      SUMMARY OF SIGNIFICANT ACCOUNTING POLIOES

      This summary of significant accounting policies of Essex Capital Corporation, Inc. (the Company)
      is presented to assist in understanding the Company's consolidated financial statements. The
      consolidated frnancial statements and notes are representations of the Company's Shareholder, who
      is responsible for their integrity and objectivity. These accounting policies conform to accounting
      principles generally accepted in the United States of America (GAAP) and have been consistently
      applied in the preparation of the consolidated financial statements.

     Nattire ofOperations
     The Company was incorporated in 1996 and is based in Santa Barbara, California. The Company
     acts as a financing source and lessor to credit worthy companies on a nationwide basis, leasing all
     assets except vehicles and commercial aircraft. The Company, as genera! partner, sells limited
     partnership interests as one means of obtaining financing. The Company also provides financing to
     and makes equity investments in small to medium-sized companies both publicand private.

     Basis ofConsolidalion

     The consolidated financial statements include the accounts of the limited partnerships in which the
     Company is a general partner. The limited partnerships are consolidated as variable interest entities
     in accordance with the provisions of Financial Accounting Standards Board (FASB) Accounting
     Standard Codification (ASC) 810, Consolidations. All significant intercompany accounts and
     transactions have been eliminated in the consolidated financial statements.


      Use ofEstimates
     Financial statements prepared in accordance with GAAP require management to make estimates
     and assumptions that affect certain reported amounts and disclosures. Actual results could differ
     from those estimates.


     Cash

     For the purpose of the statement of cash flows, cash excludes cash and cash equivalents held for
     investment.


     Assets Heldfor Lease

     Assets held for lease consist of property and equipment and are stated at cost. Depreciation of
     property and equipment is provided using the straight-line method for financial reporting purposes
     at rates based on the following estimated useful lives;
                                                                              Years

             Computer equipment                                                    2-4
             Machinery and equipment                                               2-5

                              See independent accountant's compilation report.

                                                                                                     SEC-D0NTM-g-OO11317


                                                                                               EXHIBIT 4 PAGE 63
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      1.       SUMMARY OF STGNIFICANT ACCOUNTING POLICIES (Cont)

      Assets Heldfor Lease
      Expenditures for major renewals and betterments that extend the useful lives of property and
      equipment are capitalized. Expenditures for maintenance and repairs are charged to expense as
      incurred.


      Notes receivable

      The carrying value of notes receivable represents the face value of the notes and accrued interest
      receivable. The notes bear interest at rates based on similar risks in the market and the carrying
      value approximates the fair value of the notes receivable at December 31, 2015. The allowance for
      doubtful accounts is based on the Shareholder's estimation of the collectability of the notes
      receivable based ongoing credit evaluations of specific borrower accounts. As of December 31,
      2015 there was no allowance provided for notes recdvable.

      Investments

      The Company accounts for its investments at fair value with the exception of certain private equity
      investments for which management believes it is not practicable to determine fair value. Additional
      information about fair value of investments is contained in Notes 3 and 4.

      Accounting Standard Codification (ASC) 820, Fair Value Measurements and Disclosures issued by
      the Financial Accounting Standards Board (FASB) defines fair value, establishes a framework for
      measuring fair value, and requires disclosures about fair value measurements.Pursuant to ASC 820,
      assets and liabilities recorded at fair value are cat^orized based upon the level of judgment
      associated with the inputs used to measure fair value. ASC 820 establishes a three-level fair value
      hierarchy that describes the inputs that are used to measure the fair values of respective assets and
      liabilities:


      Fair Valve Measurements


      Level 1-       Quoted prices are available in active markets for identical investments as of the
                     reporting date.

      Level 2 -      Pricing inputs, including broker quotes, are generally those other than exchange
                     quoted prices in active markets, which are either directly or indirectly observable as
                     of the reporting date, and fair value is determined through the use of modelsor
                     other valuation methodologies.

      Level 3 -      Pricing inputs are unobservable for the investment and includes situations where
                     there is little, if any, market activity for the investment. The inputs into the
                     determination of fair value require significant management judgment or estimation.
                     Investments that are included in this category generally include privately held
                     investments.




                                See independent accountant's compilation repon.

                                                                                                       SEC-D8NTM.E-0011318


                                                                                                 EXHIBIT 4 PAGE 64
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      1.      SUMMARY OF SIGNIFICANT ACCOUNTING POLICIES (Cont.)

      Fair Value Measurements (Cont.)
      Following is a description of the valuation methodologies used for assets measuredat fair value.
      Cash and cash equivalents
      Valued at face value. (Level 1)

      Marketable securities

      Valued utilizing quoted prices available in active markets for identical investments as ofthe
      reporting date. (Level I)

      Private Equity
      Valued utilizing recent private placement sale transactions, enterprise valuations, or cost (Levels
      2 and 3)

      The Company holds warrants to purchase the stock of certain private equity investments. Due to
      the uncertainty of whether these warrants v/iil have any future value the Company has ascribed
      no value to the warrants as of December 31, 2015.

      Revenue Recognition
      Leasing income is recognized when eamed. First lease payments, which are due upon lease
      execution, are recognized when received.

      Income Taxes

      The provision for income taxes consists of taxes currently due plus deferred income taxes arising
      from timing differences between recognition of revenue and expenses for financial and incometax
      reporting purposes. Timing differences result primarily from the use of accelerated methods of
      depreciation, the recording of unrealized gains and losses related to investments, accrued interest
      and net operating loss carryforwards, which are not currently recognized or deductible for income
      tax reporting purposes.

      Deferred tax assets and liabilities represent the future tax retum consequences of these differences
      which will either be taxable or deductible when the assets and liabilities are recovered or settled, A
      valuation allowance is established, when necessary, to reduce deferred income tax assets to the
      amount expected to be realized. There was no valuation allowance recorded as of December31,
      2015.




                                See independent accountant's compilation report.

                                                                                                        SEC-OBNTM-E-0011319


                                                                                                 EXHIBIT 4 PAGE 65
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      1.      SUMMARY OF SIGNIFICANT ACCOUNTING POLICIES (Cont.)
      Uncertain Tax Positions

      The Company has evaluated its tax positions and has determined that they all meet the "more likdy
      than not" recognition threshold of the Accounting Standards Codification (ASC) 740, bicome
      Taxes, issued by the Financial Accounting Standards Board. The Company had no unrecognized
      tax benefits related to tax positions taken during the year ended December 31, 2015 or for prior
      periods. The Company is subject to taxation in federal and state jurisdictions. The Company's tax
      returns from the year 2012 to the present remain open to examination by the IRS for federal tax
      purposes, and the tax years from 2011 to the present remain subject to examination by the state of
      California.


      Subsequent Events
      Management has evaluated subsequent events through May 26, 2017, the date the financial
      statements were available to be issued.


      2.      ASSETS HELD FOR LEASE


      Assets held for lease consisting of property and equipment are summarized by major classification
      as follows as of December 31, 2015:

                    Computer equipment                                 $    1,940,807
                    Machinery and equipment                                35.852.530
                                                                           37,793,337
                    Less accumulated depreciation                          09.581.6911



      Depredation expense related to propert>' and equipment was approximately $8,957,000 for the year
      ended December 31, 2015. The carrying value of the propert>' and equipment under lease as of
      December 31,2015 was $ 18,211,646.

      During the year ended December 31, 2015 the Company recorded a loss on the sale of certain
      leased assets of approximately $442,000. These amounts are included in leasing expense in the
      consolidated statement of operations.




                                See independent accountant's compilation report.

                                                                                                   SEC-DBNTM-E-0011320


                                                                                             EXHIBIT 4 PAGE 66
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      3.         INVESTMENTS


      AsofDecember31,2015, investments consist ofthe following:
                                                                                                       Excess (Deficit)
                                                                                                           of Fair Value
                                                                   Cost               Fair Value            over Cost
           Marketable securities
             Cash and cash equivalents                      $       260,995 ;$            260,995 $
             Common stock                                        17,044,716            24,397,133             7,352,417
             Publicly traded partnerships                            58,586                39,755               (18,831)
             Real estate investment trusts                          104,541                75,660               (28,881)
             Mutual funds                                            21.087                 13.050                (8.037)

           Total marketable securities                           17,489,925            24,786,593             7,296,668

           Private equity, at cost                                5,878,759             5,924,963                46,204

           Private equity, at estimated fair value                4.064.552             4.607.927               543.375


      Total investments                                     £    27 433 236      !S    35.319.483      $      7.886.247


      For the year endedDecember 31,2015, investment loss on marketable securities and private equity
      investments consists of the following:

                    Dividend income                                                                    $          19,109
                    Realized gains - marketable securities                                                      929,650
                     Unrealized losses - marketable securities                                                (1,979,085)
                     Unrealized gains - private equity, at estimated fair value                                 388,125


      4.         FAIR VALUE MEASUREMENTS

      The following sets forth by level, within the fair value hierarchy, the Company's assets at fair
      value as of December 31, 2015:
                                                                Fair Value            Fair Value           Fair Value
                                                                (Level n              (Level 2")            Level 31

           Marketable securities
             Cash and cash equivalents                      $       260,995 $                      - $
             Common stock                                        24,397,133
             Publicly traded partnerships                            39,755
             Real estate investment trusts                           75,660
             Mutual funds                                            13.050                        -

           Total marketable securities                           24,786,593

           Private equity, at cost                                           -                     -          5,924,963
           Private equity, at estimated fair value                           2                     2          4.607.927
            Total inveslmenls                               $    24.786..593 £                     ; S       10.532.890
                                     See independent accountant's compilation report.

                                                                                                                       SEC-DBNTM-E-0011321


                                                                                                               EXHIBIT 4 PAGE 67
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      4.      FAIR VALUE MEASUREMENTS (Cont)

      The table below sets forth a summary of changes in the Company's Level 3 assets for the year
      ended December 31, 2015;

                  Beginning balance                                    $    30,021,126
                  Transfers to Level 1 assets                              (23,300,000)
                  Purchases                                                 3,423,639
                  Distributions
                  Unrealized gain                                             388.125
                  Ending balance                                       S   10.532.890

      5.     NOTES RECEIVABLE


      Notes receivable consist of unsecured promissory notes bearing interest rates of 2.5% to 10.0%
      annually.

      The following is a schedule by years of the maturities of the notes receivable:

      For the years ending December 31,
                                                    2016               $      110,835
                                                    2017                    8.411.070



      Interest income related to notes receivable was approximately $884,000 for the year ended
      Decembers], 2015.

      6.     RECOURSE NOTES PAYABLE


      Recourse notes payable consists of notes payable to various unrelated parties bearing interest
      rales from 3.5% to 10.7% annually. Borrowings under the agreements are personally guaranteed
      by the shareholder of the Company (Note 13).

      The following is a schedule by years of the maturities of the notes payable;

      Years endingDecemberSl,
                                                   2016                $    7,758,497
                                                   2017                     2,134,163
                                                   2018                       646.346

                                                                       £   10.539.006


      Interest expense related to recourse notes payable wasapproximately $489,000 for theyearended
      December 31, 2015.




                               See independent accountant's compilation report.

                                                                                                SEC-OBNTtVt-E-0011322


                                                                                          EXHIBIT 4 PAGE 68
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      7.      NOTES PAYABLE


      Notes paycd)le consist of the following as of December 31, 2015:

      Notes payable to Montecito Bank & Trust, with interest
      ranging from 5.125% to 7.25% per annum. Principal and
      interest payments are payable monthly. The notes mature
      from January 2015 through November 2017. These notes
      are secured by certain leased assets owned by the Company,                         S    13,373,158

      Lending facility with Choice Bank bearing interest of
      8.00% per annum with a borrowing limit of $1,850,000 and
      maturing December 12, 2015. The facility automatically
      renews quarterly unless the lender or the Company provide
      written notice terminating the facility.    The facility is
      secured by certain assets of the Company.                                                 1,795,325

      Note payable to First Republic Bank, with interest at 4.5%
      per annum. Principal and interest payments are payable
      monthly. The note matures September 2016.                                                  229.180
                                                                                              15,397,663

                  Less current portion                                                        n. 468.472)

                  Long-term portion                                                      $     7 929 191


      The following is a schedule by year of the maturities of the notes payable:

                  Years ending December 31,
                                                    2016                $    7,468,472
                                                    2017                     4,681,826
                                                    2018                     1,482,406
                                                    2019                     1.764.959



      Total interest expense on notes payable was approximately $770,000 for the year ended
      December 31, 2015.

      8.      LIABILITY TO LIMITED PARTNERS


      The Company is the general panner of various limited partnerships. At partnership inception, the
      Company contributes the rights to future lease and residual value income for selected assets andthe
      limited partners provide cash contributions Under the ternis of the partnership agreements, the
      limited partners have the ability to put their ownership of the respective limited partnership at
      amounts determined at the inception of the partnership based on a minimum return percentage on
      cash contributed. In addition, the limited partnersalso have certain rightsto receivea portion of the
      residual income resulting from the sale of the leased equipment or additional lease income should
      the lessor elect to extend the lease.


                                See independent accountant's compilation report.

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                                                                                                EXHIBIT 4 PAGE 69
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      8.      LIABILITY TO LIMITED PARTNERS (Cont.)

      As of December31, 2015 the liability to limited partners represent the value of the put option held
      by the limited partners.

      The following is a schedule by year of the maturities of the put options;

      Years ending December 31,
                                                      2016              $   13,452,110
                                                      2017                  11.735.831
                                                                        $   25.187.941


      Interest expense related to increase in the value of the put option for liability to limited partners
      was appfoximately $974,000 for the year ended December 31,2015.


      9.     NON-RECOURSE NOTES PAYABLE


      Non-recourse notes payable consists of notes payable to various unrelated parties bearing interest
      rates from 3% to 10% annually.

      The following is a schedule by year of the maturities ofthe notes payable:

      Years ending December 31,
                                                     2016               $   17,190,786
                                                     2017                   13,893,323
                                                     2018                    4,626,040
                                                     2018                    2.500.000



      Interest expense related to non-recourse notes payable was approximately $3,330,000 for the year
      ended December 31, 2015.

      10.    INCOME TAXES


      Income taxes consist of the following components for the year ended December 31,2015:

             Current provision:
                     State                                              $             800
                     Federal                                                        8,601
             Deferred benefit;

                     Federal                                                (3,971,000)
                     State                                                    (761.0001

             Total income taxes                                        S    (4.722.5991




                                 See independent accountant's compilation report.

                                                                                                      SeC-DBNTM-e-OOl 1324


                                                                                                EXHIBIT 4 PAGE 70
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      10.       INCOME TAXES (Cont.)

      Net deferred tax assets and liabilitiesconsist of the following components at Decembers], 2015:

                                                        Non-Current


      Deferred tax asset - Federal                  $      7,931,000
      Deferred tax asset - State                           1.240.000



                                                          Current


      Deferred tax liability - Federal             $       2,043,000
      Deferred tax liability- State                          583.000
                                                   $       2.62600Q


      Management believes that it is more likely than not that the Company will generate sufficient
      taxable income in future periods to realize the benefit of the deferred tax assets at December 31,
      2015. Management believes that no valuation allowance is required as of December 31,2015.

      The Company has federal net operating loss carryforwards of approximately $35,043,000 at
      December 31, 2015. The net operating loss carryforwards expire during the years 2024 to 2035.

      The Company also has state net operating loss carryforwards of approximately $24,499,000 at
      December 31, 2015. The net operating loss carryforwards expire during the years 2016 to 2035.

      11.       LEASES


      The Company leases equipment primarily over a three year term. At the conclusion of the lease
      term the lessee has the option to return the equipment, purchase the equipment based on fair
      value as determined by the Company, or extend the lease term at a rate determined by the
      Company. The following is a schedule by years of the future minimum rentals on non-cancelable
      leases:


      Year ending Decem ber 31,
                                                   2016                $   6,235,000
                                                   2017                    1,817,000
                                                   2018                      691.000




      As of December 31, 2015, the estimated unguaranteed residual value of equipment under lease was
      approximately $2,265,000.




                               See independent accountant's compilation report.

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      12.    COMMON STOCK


      The Company is authorizedto issue 1,000 shares of no par value common stock. There were 324
      common shares issued and outstanding at December 31, 2015. All shares are owned by the
      Company's sole shareholder.


      13.    RELATED PARTY TRANSACTIONS

      Ditefrom Shareholder
      Amount due from shareholder consists of unsecured interest-free advances to the sole shareholder.
      No written tenns exist for these amounts.


      Personal Guarantees

      The sole shareholder personally guaranteed recourse notes payable totaling $10,539,006 as of
      December 31,2015.



      14.    CASH FLOW INFORMATION


      Income taxes paid by the Company were approximately $9,000 for the year ended December 31,
      2015. Interest paid by the Company for the year ended December 31, 2015 was approximately
      $3,981,000.



      15.    CONCENTRATIONS


      Financial instruments that potentially subject the Company to concentrations of credit risk
      consist principally of cash. As of December 31, 2015, substantially all of the Company's cash
      was maintained in financial institutions.   The cash balances held in financial institutions are
      insured by the Federal Deposit Insurance Corporation (FDIC) up to $250,000 per institution.
      There were uninsured cash balances of approximately $4,083,000 at December 31, 2015.


      16.    REVISIONS TO PREVIOUSLY ISSUED FINANCIAL STATEMENTS


      Certain errors resulting in an overstatement of previously reported investments were discovered
      subsequent to the issuance of the financial statements dated April 8, 20)6. Accordingly, an
      adjustment of approximately $50,357,000 was made to reduce investments as of the December
      31, 2015. A corresponding entry was made to reduce previously reported retained earnings by
      approximately $14,031,000, which is net of a deferred tax benefit of approximately $9,289,000.
      In addition certain notes receivable were determined to have been uncollectible as of December
      31, 2015 and a loss of approximately $3,682,000 was recorded during the year ended December
      31,2015.




                              See independent accountant's compilation report.

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      17.    GOING CONCERN


      As shown in the accompanying financial statements, the Company incurred a net loss of
      approximately $7,042,213 during the year ended December 31, 2015, and as of that date, the
      Company's current liabilities exceeded its current assets by approximately $21,984,000 and its
      total liabilities exceeded its total assets by approximately $12,362,000. Those factors create a
      substantial doubt about the Company's ability to continue as a going concern for the year
      following the date the financial statements are available to be issued. The financial statements
      do not include any adjustments that might be necessary ifthe Company is unable to continue as a
      going concern.




                             See independent accountant's compilation report.

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